Case 6:20-cr-00097-GAP-LHP Document 134 Filed 02/10/22 Page 1 of 3 PageID 598




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                       CASE NO. 6:20-cr-00097-GAP-LRH

JOEL MICAH GREENBERG

                      GOVERNMENT’S UNOPPOSED
                    MOTION TO SEAL AND FILE EX PARTE

      The United States of America moves this Court to seal and permit the United

States to file ex parte the Government’s status report in support of the Defendant’s

sealed motion for a continuance (Doc. S-133).           The United States supports the

defendant’s motion to continue sentencing, because it would allow the United States

to further advance aspects of pending investigations.

      The sealing and ex parte nature of the Government’s status report is requested

in order to safeguard from public scrutiny details concerning ongoing investigations

and sensitive information which would come to light were the Government’s status

report to become public knowledge.

      Disclosure of the contents of the Government’s status report may cause

subjects of ongoing investigations to flee, destroy evidence, disclose facts that could

jeopardize ongoing criminal investigations, and cause witnesses named in the status

report to be subject to possible harassment or retaliation from individuals who are the

subjects of the investigations or who have an interest therein.
Case 6:20-cr-00097-GAP-LHP Document 134 Filed 02/10/22 Page 2 of 3 PageID 599




      Pursuant to the Local Rules for the Middle District of Florida, the

undersigned consulted with Fritz Scheller, Esq., counsel for the defendant, who has

no objection to this motion.

      WHEREFORE, the United States respectfully requests that this Court permit

the United States to file under seal and ex parte the Government’s status report in

support of the Defendant’s Sealed Motion to Continue Sentencing and this Motion.

                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney

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                                           2
Case 6:20-cr-00097-GAP-LHP Document 134 Filed 02/10/22 Page 3 of 3 PageID 600




U.S. v. JOEL MICAH GREENBERG                      Case No. 6:20-cr-00097-GAP-LRH


                              CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Fritz Scheller, Esq.



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